Case 2:19-cv-00395-JRG Document 516 Filed 11/05/21 Page 1 of 8 PageID #: 26262



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 BRIGHT DATA LTD.,                         §

              Plaintiff,
                                           §
                                           §
 v.
                                           §
                                           § CIVIL ACTION NO. 2:19-CV-00395-JRG
 TESO LT, UAB, METACLUSTER LT,
 UAB, OXYSALES, UAB,
                                           §
                                           §
             Defendants.                   §
                             JURY VERDICT FORM

      In answering the following questions and completing this Verdict Form, you

are to follow all the instructions I have given you in the Court s Final July

Instructions. Your answers to each question must be unanimous. Some of the

questions contain legal terms that are defined and explained in detail in the Final

Juiy Instructions. You should refer to and consider the Final Jury Instructions as you

answer the questions in this Verdict Form.
Case 2:19-cv-00395-JRG Document 516 Filed 11/05/21 Page 2 of 8 PageID #: 26263



      As used herein, the following terms have the following meanings:


         • Bright Data refers to Plaintiff Bright Data, Ltd. (formerly known as

            Luminati Networks Ltd.)

         • Oxylabs refers collectively to Defendants Teso LT, UAB, Oxysales,

            UAB, and Metacluster LT, UAB.

         ® The “ 319 Patent” refers to U.S. Patent No. 10,257,319.


         • The “ 510 Patent refers to U.S. Patent No. 10,484,510.


         • The “’614 Patent refers to U.S. Patent No. 10,469,614.


         • “Asserted Patents refers collectively to the ’319 Patent, the ’510

            Patent, and the ’614 Patent.


         • The Asserted Claims refers collectively to:

               o Claims 1 and 26 of the ’319 Patent;

               o Claims 1 and 22 of the ’510 Patent; and

               o Claims 1, 11, 16, and 20 of the ’614 Patent.




                                           2
Case 2:19-cv-00395-JRG Document 516 Filed 11/05/21 Page 3 of 8 PageID #: 26264




  IT IS VERY IMPORTANT THAT YOU FOLLOW THE
 INSTRUCTIONS PROVIDED IN THIS VERDICT FORM.




          READ THEM CAREFULLY AND
   ENSURE YOUR VERDICT COMPLIES WITH THEM.




                                      3
Case 2:19-cv-00395-JRG Document 516 Filed 11/05/21 Page 4 of 8 PageID #: 26265




QUESTION NO. 1




Did Bright Data prove by a preponderance of the evidence that Oxylabs infringed

ANY of the Asserted Claims?




      Yes:                    No:




                                      4
Case 2:19-cv-00395-JRG Document 516 Filed 11/05/21 Page 5 of 8 PageID #: 26266




QUESTION NO. 2



Did Oxylabs prove by clear and convincing evidence that any of the following

Asserted Claims are invalid?




      Claim 1 of the 319 Patent     Yes:               No:           V

      Claim 26 of the 319 Patent    Yes:                  No:

      Claim 1 of the 510 Patent     Yes:                No:           \/

      Claim 22 of the ’510 Patent   Yes:               No:            \/

      Claim 1 of the ’614 Patent    Yes:                No:           \/

      Claim 11 of the ’614 Patent   Yes:                  No:

      Claim 16 of the ’614 Patent   Yes:                No:           i

      Claim 20 of the ’614 Patent   Yes:           No:




                                      5
Case 2:19-cv-00395-JRG Document 516 Filed 11/05/21 Page 6 of 8 PageID #: 26267




If you answered No to Question No. 1, OR YES to ALL Asserted Claims in
 Question No. 2, then DO NOT answer Question No. 3.



Answer Question No. 3 ONLY as to any Asserted Claim that you have found
BOTH to be infringed AND not invalid.




QUESTION NO. 3



Did Bright Data prove by a preponderance of the evidence that Oxylabs willfully

infringed ANY of the Asserted Claims that you found were infringed?




      Yes:              No:




                                       6
Case 2:19-cv-00395-JRG Document 516 Filed 11/05/21 Page 7 of 8 PageID #: 26268




If you answered No to Question No. 1, OR YES to ALL Asserted Claims in
Question No. 2, then DO NOT answer Question No. 4.



Answer Question No. 4 ONLY as to an Asserted Claim that you have found
BOTH to be infringed AND not invalid.




QUESTION NO. 4



What sum of money, if any, has Bright Data proven by a preponderance of the

evidence that it is entitled to receive from Oxylabs as lost profits?




Answer in United States Dollars and Cents, if any:




                                          7
Case 2:19-cv-00395-JRG Document 516 Filed 11/05/21 Page 8 of 8 PageID #: 26269




                       FINAL PAGE OF JURY VERDICT FORM

      You have now reached the end of the Verdict Form and should review it to

ensure it accurately reflects your unanimous determinations. The Jury Foreperson

should then sign and date the Verdict From in the space below. Once this is done,

notify the Court Security Officer that you have reached a verdict. The Jury

Foreperson should keep the Verdict Form and bring it when the jury is brought back

into the courtroom.




Signed this   5 11).   day of November, 2021.




                                                ________________________
                                                Jury Foreperson




                                          8
